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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           DECLARATION OF JAMES S.
                                                       FELTMAN      IN   SUPPORT   OF
15
15    FITNESS ANYWHERE LLC, a Delaware                 DEBTORS’ EMERGENCY MOTION
16    limited liability company, dba TRX and TRX       FOR ENTRY OF AN INTERIM
16
      Training,                                        ORDER: (I) AUTHORIZING THE
17
17                                                     DEBTORS TO UTILIZE CASH
              Debtor and Debtor in Possession.         COLLATERAL PURSUANT TO 11
18
18    ____________________________________             U.S.C. §§ 361, 362 AND 363; (II)
                                                       GRANTING             ADEQUATE
19
19                                                     PROTECTION; (III) SCHEDULING A
20       Affects both Debtors                          FINAL HEARING PURSUANT TO
20
                                                       BANKRUPTCY RULE 4001(b); AND
21
21      Affects TRX Holdco, LLC only                   (IV) GRANTING RELATED RELIEF

22
22       Affects Fitness Anywhere, LLC only            DATE:      June 10, 2022
                                                       TIME:      10:00 a.m.
23
23                                                     PLACE:     *Via ZoomGov
24
24                                                                Courtroom 5C
                                                                  411 West Fourth Street
25
25                                                                Santa Ana, CA 92701

26
26
27
27
28
28


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 11          I, James, S. Feltman, hereby declare under penalty of perjury as follows:

 22          1.      I am a managing director of the restructuring practice of Kroll, LLC, proposed

 33   financial advisor to TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and

 44   TRX Training (“Product Co” and together with Hold Co and Product Co, the “Debtors”), the

 55   debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases. My

 66   practice is focused on providing fiduciary, advisory consulting and expert witness testimony in,

 77   among other areas, the areas of insolvency, restructuring, and accounting. I am among the most

 88   experienced bankruptcy fiduciaries in the United States, having served as a Chapter 11 Trustee in

 99   25 assignments, an Examiner in 14 matters and as a Chapter 7 Trustee in over 10,000 cases. My
10
10    industry specialization includes retail, and manufacturing and distribution, businesses. A true and
11
11    correct copy of my professional resume is attached as Exhibit 1 to this Declaration.
12
12           2.      I make this Declaration in support of the Debtors’ emergency motion for the entry
13
13    of an order authorizing the Debtors to use cash collateral and related relief.
14
14           3.      Kroll, LLC has been retained by the Debtors, subject to Bankruptcy Court
15
15    approval, to provide to the Debtors’ restructuring advisory services, to among other things, work
16
16    collaboratively with the Debtors’ senior management team, certain members of the Debtors’
17
17    boards of managers and other professionals to: (1) assist the Debtors to prepare for filing these
18
18    Chapter 11 bankruptcy cases; (2) assist the Debtors to oversee bankruptcy preparation and filing
19
19    activities; (3) assist in the development of a reorganization or asset sale process with the goal of
20
20    achieving maximum value for the Debtors’ estates in an expedited manner; (4) coordinate
21
21    activities and assist in communication with outside constituents and advisors, including banks
22
22    and their advisors; (5) perform related services, including the provision of declarations and
23
23    testimony; and (6) assist the Debtors in developing a short-term cash flow forecasting tool and
24
24    related methodologies and to assist with planning for alternatives as requested by the Debtors.
25
25    The Debtors have also retained Kroll’s affiliate to serve as the Debtors’ investment banker to run
26
26    a free and clear sale process in these cases.
27
27           4.      Pre-petition, the Debtors hired an affiliate of Kroll – Kroll Securities, LLC – to,
28
28    among other things, identify prospective investors and seek to obtain additional investments in


                                                        2
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 11   the Debtors’ business, or engage in a transaction such as a merger and/or acquisition, in order to

 22   further capitalize the Debtors and meet the Debtors’ operational and growth needs. While I was

 33   not directly involved with those efforts, and I was retained by the Debtors around the period

 44   when it became apparent that the best option available to the Debtors would be to conduct an

 55   expedited free and clear asset sale in a chapter 11 bankruptcy proceeding and consummate that

 66   asset sale before the Debtors run out of cash, I have nevertheless reviewed and analyzed that

 77   marketing process and its results, and I am generally knowledgeable of those efforts and

 88   outcomes.

 99          5.      During the past two weeks, I have worked closely with the Debtors’
10
10    representatives and executives, in connection with, among other things reviewing and analyzing
11
11    the Debtors’ financial condition, assets, liabilities and operations. I have reviewed financial
12
12    statements and other documents provided to me by the Debtors, and my colleague Scott Lyman
13
13    and I (with assistance from Kroll staff) have prepared the Debtors’ thirteen (13) week cash flow
14
14    forecasts and cash collateral budgets setting forth all projected cash receipts and cash
15
15    disbursements and the projected impacts on accounts receivables and inventory following the
16
16    Petition Date (each, a “Budget”, and together, the “Budgets”), true and correct copies of which
17
17    are attached as Exhibits 2, 3 and 4 to this Declaration. Exhibit 2 constitutes Product Co’s
18
18    Budget. Exhibit 3 constitutes Hold Co’s Budget. Exhibit 4 constitutes a consolidated Budget.
19
19           6.      We prepared the Budgets based upon our analysis of the Debtors’ financial
20
20    situation. This includes numerous discussions that we have had with the Debtors’ employees,
21
21    officers and managers, and other representatives of the Debtors. I have also had numerous
22
22    discussions with Woodforest National Bank (the “Bank”) in connection with the Debtors’
23
23    financial condition and operations, and operating budgets.
24
24           7.      I believe that the Budgets accurately reflect the projected revenues and expenses
25
25    and changes in cash, accounts receivables and inventory for the Debtors’ bankruptcy estates in
26
26    the projection period.
27
27           8.      The Debtors’ current financial situation is precarious in that I estimate that unless
28
28    the Debtors’ can consummate a transaction or obtain additional financing, the Debtor will not


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 11   have sufficient liquidity to replenish inventory, impairing future customer sales and thereafter

 22   negatively impacting the Debtors’ good will. I believe that if there was a shutdown of the

 33   Debtors’ business with a resulting liquidation, it would be a disastrous result for creditors,

 44   including the Bank.

 55          9.      I understand the Debtors’ goal in these bankruptcy cases is to consummate a free

 66   and clear asset sale for the most money possible, and that the Debtors intend to file in the near

 77   future a motion seeking Court approval of proposed bidding and auction procedures. I am

 88   assisting the Debtors in connection with developing such procedures, and communicating with

 99   the Bank regarding the Debtors’ proposed course of action in this case and in connection with a
10
10    sale process. Based on the understanding of the Debtors I have developed over the course of the
11
11    past several weeks, the Debtors require an expedited, focused asset sale process that will
12
12    consummate before the Debtors’ inventory falls below required operational levels and the
13
13    Debtors run out of sufficient liquidity to sustain operations.
14
14           10.     The only way for the Debtors to continue to operate their business pending the
15
15    consummation of a free and clear asset sale is for the Debtors to be able to use their cash
16
16    collateral to pay their post-petition expenses in accordance with the Budgets. The alternative to
17
17    the Debtors’ use of cash collateral would be an immediate shut down of the Debtors’ business
18
18    and termination of all employees, service providers and outsourced business operations, which
19
19    would be devastating to the value of the Debtors’ assets and would result in an economic disaster
20
20    for all creditors, including the Bank.
21
21           11.     We are continuing to analyze whether obtaining post-petition financing is
22
22    necessary in order for the Debtors to have an adequate time period to conduct this free and clear
23
23    asset sale process and to consummate an asset sale transaction. If we conclude that obtaining
24
24    such post-petition financing is necessary, a decision we expect to make in the coming days, the
25
25    Debtors will be coming before this Court seeking Court approval of such post-petition financing.
26
26           12.     I have engaged in discussions with the Bank regarding, among other things, the
27
27    Debtors’ cash flow challenges and needs, these bankruptcy cases, and the Debtors’ imminent
28
28    need for additional funding to enable the Debtors to have a sufficient amount of time to run a


                                                        4
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 11   free and clear asset sale process designed to achieve the highest and best price for the Debtors’

 22   assets. I am hopeful that we will be able to obtain the Bank’s consent regarding the Debtors’ use

 33   of cash collateral, and have also approached the Bank to determine whether the Bank is willing

 44   to lend additional funds to the Debtors post-petition and, if not, whether the Bank is willing to

 55   subordinate to a new lender.

 66          13.     In order for the Debtors to have the opportunity to attempt to consummate a sale

 77   of their business/assets, the Debtors must be able to continue to operate their business, and the

 88   only way for the Debtors to be able to continue to operate their business is for the Debtor to have

 99   use of their cash collateral to pay for their post-petition operating expenses. Without the use of
10
10    their cash collateral, the Debtors would be forced to immediately shut down and close their
11
11    business and terminate all of their employees.
12
12           14.     As set forth in the Budgets, the Debtors require immediate authority to use cash
13
13    collateral to pay, among other things: (1) payroll in order to ensure that there is no interruption or
14
14    interference in the Debtors’ relationship with their employees (provided that any insider
15
15    compensation will be subject to compliance with insider compensation approval requirements);
16
16    (2) key contractors, service providers, consultants and vendors, in order to ensure there is no
17
17    interruption in critical services being provided to the Debtors and product being delivered to the
18
18    Debtors; (3) logistics costs in order to ensure timely receipt and delivery of products relating to
19
19    the E-commerce business; and (4) insurance and taxes.
20
20           15.     The Budgets do not include any additional purchases of inventory but the Debtors
21
21    are requesting authority pursuant to the cash collateral motion to do so in the ordinary course of
22
22    business to the extent sufficient funds exist in order for the Debtors to do so, including during the
23
23    interim period of approval of the cash collateral motion, to the extent the Debtors determine in
24
24    their business judgment that doing so is necessary to avoid irreparable and immediate harm.
25
25           16.     The Budgets incorporate all of the projected cash receipts and cash disbursements
26
26    of the entire business operations of the Debtors and their respective subsidiaries. I understand
27
27    that the TRX entities were established to allow for a segregation of the equity investment made
28
28    in the recapitalization, but TRX has operated as one identifiable brand in the market, and through


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11   intercompany agreements, including a management services agreement between Hold Co and

22   Product Co wherein Hold Co provides the services of executive management that oversee the

33   entire TRX enterprise, it also effectively operates as a consolidated business.

44          17.     The Debtors seek an order of the Court authorizing the Debtors to use their cash

55   collateral to pay all of their projected post-petition expenses set forth in the Budgets. The

66   Debtors further seek Court authority to deviate from the Budgets, without the need for any

77   further Court order, by up to 20% by line item and 25% in the aggregate without the need for any

88   further Court order, and the Debtors seek Court authority to deviate further from the Budgets

99   without the need for any further Court order provided the Debtors obtain the prior consent of the
10
10   Bank, since the Bank is the only creditor with an interest in the Debtors’ cash collateral.
11
11          18.     As to adequate protection for the Debtors’ use of cash collateral, the Debtors
12
12   propose to provide to the Bank a replacement lien against the Debtors’ post-petition assets
13
13   (excluding any avoidance causes of action), to the extent of any post-petition diminution in the
14
14   value of the Bank’s prepetition collateral as a result of the Debtors’ post-petition use of cash
15
15   collateral. Further, the Bank shall be granted a super priority administrative claim pursuant to
16
16   Section 507(b) of the Bankruptcy Code to the extent of any post-petition diminution in the value
17
17   of the Bank’s prepetition collateral as a result of the Debtors’ post-petition use of cash collateral.
18
18          I declare under penalty of perjury under the laws of the United States of America that the
19
19   foregoing is true and correct. Executed this 8th day of June, 2022, at Miami, Florida.
20
20
21
21
22
22                                                                  ___________________________
23
23                                                                          JAMES S. FELTMAN
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                   EXHIBIT "1"
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                               James S. Feltman
                               Managing Director, Restructuring
Contact
E james.feltman@kroll.com      Mr. Feltman is among the most experienced bankruptcy
T +212 450 2854                fiduciaries in the United States, having served as a
M +305 793 6279                Chapter 11 Trustee in 25 assignments, an Examiner in 14
                               matters and as a Chapter 7 Trustee in over 10,000 cases.
Areas of Expertise             Mr. Feltman's experience as a bankruptcy fiduciary is
 Financial Services           multi-jurisdictional, (including the Southern District of
• Healthcare
                               New York) and cross-border. Additionally, Mr. Feltman
                               served in other fiduciary roles in numerous matters
• Manufacturing and            including as a Mediator, Arbitrator and Monitor. His
  Distribution
                               industry specialization includes agriculture, retail,
• Mortgages & Asset Backed     manufacturing and distribution, real estate/construction,
  Securities
                               aviation, healthcare, financial services, and other
• Real Estate/Construction     industries.
• Retail
• Structured Derivatives

                               Mr. Feltman’s extensive experience as a fiduciary includes
                               operating and managing businesses, overall case
                               management, sales and liquidation of assets and business
                               interests, claims development and prosecution,
                               negotiating settlements, and administering claims
                               payment schemes in a variety of cases for more than the
                               last two decades. Mr. Feltman has managed the
                               dispositions of a range of businesses and business
                               interests, real estate, personal and intellectual property.

                               Mr. Feltman is a Fellow of the American College of
                               Bankruptcy, a member of the American Institute of
                               Certified Public Accountants and Florida Institute of
                               Certified Public Accountants. He is a Certified Public
                               Accountant in the State of Florida. From 2002-2008, Mr.
                               Feltman was a member of the Board of Directors of the
                               American Bankruptcy Institute. Mr. Feltman was honored
                               as one of the 2015 Consultants of the Year by Consulting
                               Magazine
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  Education
      M.P.S., Cornell University
      B.A., University of Wisconsin, Madison

  Certifications
      Certified Public Accountant, Florida
      Certified in Financial Forensics
      Certified Fraud Examiner

  Professional Associations
      American Bankruptcy Institute, April 2002 – April 2008, board of directors
      American Institute of Certified Public Accountants, member
      Florida Institute of Certified Public Accountants, member

  Honors and Awards
      Fellow, American College of Bankruptcy
      Top 25 Consultants in 2015 – Consulting Magazine

  Publications
      Financier Worldwide:
          o Panelist-Bankruptcy and Restructuring; November 2016
          o Panelist-Out-of-Court Restructuring Alternatives; June 2016
      ABI Fraud and Forensics
          o Co-Author-Effective Expert Reports-2015
          o Shifting Asset Valuations and Rising Debt; June 2017
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  Speaking Engagement
        Complex Financial Restructuring Program LV Nevada – February 2020: Healthcare
         Restructuring
        The Knowledge Group – November 2019: Using and Challenging Expert Witness Testimony
         in Bankruptcy Litigation: Winning Strategies
        Expert Witnesses in Bankruptcy Litigation – November 2019 (Webinar)
        World Bank/IFC - May 2019: Current Restructuring Topics presented to the Workout Team
        Complex Financial Restructuring Program LV Nevada Fiduciary Duties - February 2019
        ABI Milan International Solvency and Restructuring conference; International Asset Tracing -
         October 2018
        Financial Services Volunteer Corps – October 2014: Selection and Supervision of Bankruptcy
         Administrators (Marrakesh, Morocco)
        BBA/AIRA Joint Bankruptcy & Restructuring Program – January 2014: Valuation Topics in
         Bankruptcy
        Illinois CPA Fraud Conference – October 2013: Red Flags of Audit Breakdowns – Lessons
         Learned
        American College of Bankruptcy – October 2013: Where Are We Now And How Did We Get
         Here?
        Knowledge @ Wharton - February 2013: Reverse Mergers: A Looming U.S. – China Showdown
         over Securities Regulation?
        Compliance Week – January 2013: No Clear Solutions in Audit Standoff with China
        Reuters.com – January 2013: Chinese Companies Retreat from U.S. Listings as Scrutiny
         Mounts
        Bloomberg – December 2012: SEC Auditor Case Seen Jeopardizing Chinese U.S. Listings
        CNBC – December 2012: US/China Regulatory Standoff
        National Public Radio – December 2012: Feds Sue Chinese Audit Firms
        Industry Week – December 2012: Regulatory Clash: Lessons Learned through an East-Meets-
         West Dispute
        Compliance Week – August 2012: PCAOB Provides Audit Committees with a Roadmap on
         Inspection Results
        CNN – July 2012: Challenges for Chinese Companies listed on US markets
        CNBC – July 2012: Regulatory Environment in China
        Financier Worldwide – July 2012: Bankruptcy Litigation Roundtable (Article)
        The Association of Commercial Finance Attorneys CLEW – May 2012: Global Economics,
         Financial Fraud and Lender Liability
        The American Bankruptcy Institute 30th Annual Spring Meeting – April 2012: Commercial Real
         Estate Trends, Workouts, and Reorganizations
        Fox News Interview – January 2012: Will More Banks Fail in 2012?
        Anti-Corruption Compliance Program – October 2011: The Gathering Storm: Anti-Corruption
         Compliance for Private Equity and Hedge Funds
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        National Conference of Bankruptcy Judges October 2011: Financial Advisors in the
         Courtroom, and conducted a Webinar – China’s Red Flag: What Chinese companies must do
         to overcome issues surrounding transparency with the global investor community
        The Offshore Alert Conference – April 2011: Offshore But Not Off Limits: How Fraud Victims
         Can Obtain Relief in OFC’s
        The American Bankruptcy Institute 29th Annual Spring Meeting – March 2011: Cutting-Edge
         Litigation Issues: Ponzi Schemes, the Return of the Leveraged Buyouts, Valuation Disputes
         and More
        The Distressed Debt Conference in London – September 2010:              Considerations for
         Turnaround Investing.
        American Bankruptcy Institute – July 2010: Ponzi Schemes and Other Scams for Bilking
         Money, from Madoff to Consumer Rip-offs.
        American Bankruptcy Institute – August 2009: Ethical Issues for Lawyers Representing
         “Unusual” Clients.
        American Bankruptcy Institute – August 2009: Prove It! Evidence in Bankruptcy Proceedings.
        Kellogg Turnaround Management Conference – April, 2009: Negotiating in Creditors’
         Committees
        Distressed Acquisitions for Strategic Advantage – September 2008: Analyzing the Risks of
         Absorbing a “Sick” Company – Do I Have the Right Team?
        VALCON – January 2008: Restructuring Options for Homebuilders - What's Different This
         Time?
        National Conference of Bankruptcy Judges – October 2007: Where Will Bankruptcy Work
         Come From in 2008?
        American Bankruptcy Institute – July 2007: Effective Pre-Bankruptcy Negotiating and
         Packaging.
        American Bankruptcy Institute – July 2007: Drivers Impacting Credit and Capital Marketplace.
        Association of Commercial Finance Attorneys – June 2007: Asset Based Lending.
        American Bankruptcy Institute - Annual Spring Meeting, April 2007: Pensions and Benefits in
         Bankruptcy.
        American Bankruptcy Institute – Caribbean Insolvency Symposium, February 2007:
         Liquidating Cross-Border Assets and Recovering Cross-Border Claims.
        National Association of Credit Management, January 2007: Deepening Insolvency
        13th Annual Aircraft Financing Forum, October 2006: The Bankruptcy & Restructuring
         Process: Current Airline and Creditor Issues.
        American Bankruptcy Institute, September 2006: London International Insolvency
         Symposium – Aviation Panel.
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Bankruptcy Trustee Appointments



                                                         Filing     Appointment                           Attorney/
 Case Name                               Case No.        Date          Date             Role              Contact             Firm Name         Industry

BKC                                 Various            1988-2004     1988-2004     Chapter 11 and     Felicia S. Turner / Office of the U.S.   Various
                                                                                  Chapter 7 Trustee   Steven Turner       Trustee, Atlanta,
                                                                                                                          GA


AeroFloral, Inc.                    01-16367-BKC-RAM   6/13/2001     7/17/2001        Trustee         David M. Levine     Tew Cardenas,        Distribution
                                                                                                                          Miami, FL



Empresa De Transporte               99-13741-BCK-AJC   4/21/1999      9/8/1999        Trustee         David Cimo          Genovese,            Aviation
Aero Del Peru, S.A., Debtor                                                                                               Lichtman, Joblove
                                                                                                                          & Battista, P.A.,
                                                                                                                          Miami, FL


Aviation Composites Services,       01-18236-BKC-AJC     2002        3/21/2002        Trustee         Brian Behar         Behar Gutt &         Aviation
Inc.                                                                                                                      Glazer, Aventura,
                                                                                                                          FL


Bandsawe Residual Corp.,            99-15698-BKC-RAM   6/11/1999     8/18/1999        Trustee         Jerry Markowitz     Markowitz, Davis,    Professional
Debtor                                                                                                                    Ringel & Trusty,     Services –
                                                                                                                          P.A., Miami, FL      Legal


Blackwell & Walker, P.A.            96-10862-BKC-RAM   2/14/1996      3/8/1996        Trustee         Arnold              Schatzman &          Professional
                                                                                                      Schatzman           Schatzman, Miami,    Services –
                                                                                                                          FL                   Legal


Book Wholesalers Inc., Debtor       96-10521-BKC-RAM   1/29/1996     2/28/1996       Special          Tom Lehman          Tew & Beasley,       Retail
                                                                                  Representative /                        Miami, FL
                                                                                     Trustee


C.G.F. Electrical Corp., Debtor     95-15649           11/17/1995                     Trustee         Brian Behar         Behar, Gutt &        Professional
                                                                                                                          Glazer, Aventura,    Services
                                                                                                                          FL
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Bankruptcy Trustee Appointments



Certified HR Services Company 05-22912-BKC-RBR       5/12/2005     5/25/2005     Trustee     Paul Battista      Genovese Joblove       Professional
f/k/a The Cura Group, Inc.                                                                                      & Battista, Miami,     Services
                                                                                                                FL


Corporate Resource Services,      15-12329 (MG)      7/23/2015     9/22/2015    Chapter 11   Linda Rifkin,      Office of the U.S.     Professional
Inc.                                                                             Trustee     AUST               Trustee                Services



Florida Industrial Equipment &    91-14374-BKC-PGH     1991        8/15/1993     Trustee     Ilyse Homer        Stroock, Stroock &     Retail
Supplies, Inc., Debtor                                                                                          Lavan, Miami, FL



Glenbeigh Hospital of Miami,      93-11057-BKC-AJC     1993        6/30/1993     Trustee     Patricia Redmond Stearns, Weaver,         Healthcare
Inc., et al., Debtors                                                                                         Miller, et al., Miami,
                                                                                                              FL



Joseph Charles & Associates,      00-34898-BKC-SHR   11/1/2000      7/6/2001     Trustee     Kenneth B.         Rice & Robinson,       Financial
Inc.                                                                                         Robinson           Miami, FL              Services



Lander, Inc., Debtor              92-10103-BKC-AJC   1/7/1992       5/7/1993     Trustee     F. Lorraine Jahn   Mershon, Sawyer,       Retail
                                                                                                                et al., Miami, FL



Marathon Manor, Inc.              01-10599-BKC-AJC   1/24/2001     5/16/2001     Trustee     Frank P. Terzo     Holtzman Equels &      Healthcare
                                                                                                                Furia, Miami, FL



Phoenix Continental Corp. and     97-25400-BKC-PGH    8/1997        9/9/1997     Trustee     Thomas R.          Tew & Beasley,         Aviation
Flightline of America, L.C.       and 97-25401                                               Lehman             Miami, FL
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Bankruptcy Trustee Appointments



Suncoast Towers                     98-10537              1998       3/1998      Trustee   Linda G. Worton    Greenberg, Traurig, Real Estate
South Associates                                                                                              Miami, FL



Sophisticated                       001-17635-BKC-      8/28/2000   5/25/2001    Trustee   Brian S. Behar     Behar Gutt &         Telecom
Communications, Inc.                AJC                                                                       Glazer, Aventura,
                                                                                                              FL


TCPI, Inc.                          01-24937-BKC-RBR    7/3/2001    10/4/2001    Trustee   Jerry M.           Markowitz, Davis,    Healthcare
                                                                                           Markowitz          Ringel & Trusty,
                                                                                                              P.A., Miami, FL



TS Employment, Inc.                 15-10243 (MG)       2/2/2015    2/27/2015    Trustee   Michael Driscoll   U.S. Department of   PEO
                                                                                                              Justice, New York,   (employee
                                                                                                              NY                   staffing)


TUSA Florida, Inc., et al.,         93-10748-BKC-       2/26/1993   5/14/1993    Trustee   John Genovese      Kelley Drye &        Transporta-
Debtors                             SMW, 93-10759-                                                            Warren, Miami, FL    tion
                                    BKC-SMW, 93-
                                    10928-BKC-SMW

United Information Systems, Inc.    98-16621-BKC-AJC,   7/22/1998   9/28/1998    Trustee   Jerry Markowtiz    Markowitz, Davis,    Distribution
                                    98-16634-BKC-AJC                                                          Ringel & Trusty,
                                                                                                              P.A., Miami, FL


United Forming, Inc.                92-11113-BKC-       2/24/1992   8/14/1992    Trustee   Lee Mandell        Lee Mandell, P.A.,   Construc-
                                    SMW                                                                       Coral Gables, FL     tion



World Terminal Distribution Corp.   00-16555-BKC-RAM    7/25/2000   1/19/2001    Trustee   Allison R. Day     Genovese            Distribution
                                                                                                              Lichtman Joblove &
                                                                                                              Battista, Miami, FL
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Bankruptcy Trustee Appointments



Worldwide Web Systems, Inc.     00-16067-BKC-RAM   7/11/2000   8/11/2000    Trustee   Paul S.       Berger, Davis &     Telecom
                                                                                      Singerman     Singerman, Miami,
                                                                                                    FL


WTI International Corp.         98-18183-BKC-AJC   1/25/1999   5/1/1999     Trustee   Arnold        Schatzman &         Licensing/
                                                                                      Schatzman     Schatzman, Miami,   Patents
                                                                                                    FL
                                   Case 8:22-bk-10948-SC       Doc 9 Filed 06/08/22 Entered 06/08/22 13:35:03            Desc
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Bankruptcy Examiner Appointments



                                                            Filing     Appointment                     Attorney/
 Case Name                                 Case No.         Date          Date        Role             Contact       Firm Name                Industry

25 Travel, Inc.                       92-15634-BKC-SMW      1992                     Examiner                      Miami, FL         Retail



Aerial Transit Company, Debtor        92-17033-BKC-AJC    12/11/1992     4/8/1993    Examiner   Ronald Neiwirth    Semet,             Aviation
                                                                                                                   Lickstein, et al.,
                                                                                                                   Coral Gables,
                                                                                                                   FL

Jack W. Barrett, Debtor               93-10562-BKC-AJC    2/12/1993     7/30/1993    Examiner   Rick Rodgers       Port St. Lucie,   Professional Services /
                                                                                                                   FL                  Medical



Cascade International, Inc., et al.   91-33703-BKC-RAM      1991                     Examiner   John Genovese      Kelley Drye &     Retail
                                                                                                                   Warren, Miami,
                                                                                                                   FL


Evolution Imports, Inc.               96-21853-BKC-RAM      1996        6/25/1996    Examiner   N/A                Miami, FL         Retail




F.L.G. Inc., Debtor(s)                99-10467-BKC-AJC      1999         3/1999      Examiner   N/A                Miami, FL         Retail




Fisher Island Investments, Inc.,      11-17047-BKC-AJC,     2011        4/27/2011    Examiner   N/A.               Miami, FL         Various
Mutual Benefits Offshore Fund,        11-17051-BKC-AJC,
Ltd., Little Rest Twelve, Inc.        11-17061-BKC-AJC
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Bankruptcy Examiner Appointments


Hillard Development Corp. v.          Adv No. 94-0467-   5/27/1994   2/2/1995     Examiner   James Boone       James Boone, P.A., Insurance
Griswold, et al.                      BKC-AJC-A                                                                Ft. Lauderdale, FL



Ideas Apparel Group, Inc., Inc.,      91-B-10398 (CV)      1991      6/11/1993    Examiner                     USBC, New York,      Insurance
Debtor                                New York                                                                 NY



IDEECO, Inc., Debtor                  95-23042-BKC-RBR     1995      8/31/1995    Examiner   Denyse Heffner    Office of the U.S.   -
                                                                                                               Trustee, Miami, FL



Luke Records, Inc., Debtor            95-11447-BKC-RAM   3/28/1995   6/20/1995    Examiner   Amber Donner      Office of the U.S.   Entertain-ment
                                                                                                               Trustee, Miami, FL



M&E Trading Co., Inc., Debtor         91-15597-BKC-PGH     1991                   Examiner   Brent Friedman    Stroock, Stroock &   Retail
                                                                                                               Lavan



Overseas Corp., et al., Debtor        90-15067-BKC-AJC     1990                   Examiner                     USBC, Miami, FL      Real Estate




Syntax-Brillian Corporation, et al.   08-114079 (BLS)    7/8/2008    9/2/2008     Examiner   Steven M. Yoder   Potter Anderson &    Electronics
                                                                                                               Corroon,
                                                                                                               Wilmington, DE
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Liquidating Trustee Appointments




                                                        Filing     Appointment                     Attorney/
 Case Name                               Case No.       Date          Date          Role           Contact           Firm Name          Industry

Aero Systems Inc. / Aero             93-12972-BKC-     8/5/1993     5/12/1994    Liquidating   Ronald Neiwrith    Semet, Lickstein, et Aviation
Systems Aviation Corp.               SMW, 93-12973-                                Trustee                        al., Coral Gables,
                                     BKC-SMW                                                                      FL


American Way Service Corp.,          94-24696-BKC-    12/2/1994     10/12/1995   Liquidating   Paul J. Battista   Genovese, Joblove Insurance
Debtor                               RBR                                           Trustee                        & Battista, P.A.,
                                                                                                                  Miami, FL


Certified HR Services                05-22912-BKC-    11/27/2007    11/27/2007   Liquidating   Paul J. Battista   Genovese, Joblove Professional
Company Liquidating Trust            RBR                                           Trustee                        & Battista, P.A., Services
                                                                                                                  Miami, FL


L. Luria Liquidating Trust           97-16731-BKC-      1997         6/1/1998    Liquidating   Brian Kriger       Traub, Fox &         Retail
                                     Ram (CH 11)                                   Trustee                        Bonequist, New
                                                                                                                  York, NY


Mission Health, Inc.                 99-5019-3F1        1999        10/18/2000   Liquidating   Edwin W. Held,     Fischette Owen       Healthcare
                                                                                   Trustee     Jr.                Held & McBurney,
                                                                                                                  Jacksonville, FL


Rich International Airways, Inc.     96-17399-BKC-      1996         5/1998      Liquidating   Peter Levitt       Adorno & Zeder,      Aviation
Liquidating Trust                    RAM                                           Trustee                        Miami, FL



Levitt and Sons, LLC, et al.         07-19845-BKC-    11/9/2007     12/21/2007   Liquidating   Paul J. Battista   Genovese, Joblove Real Estate
                                     RBR                                           Trustee                        & Battista, P.A.,
                                                                                                                  Miami, FL


Pharmasystems Holding                99-14626-RAM     5/13/1999     5/17/1999    Liquidating   Craig Rieders      Genovese, Joblove Retail
Corporation, Debtor                                                                Trustee                        & Battista, P.A.,
                                                                                                                  Miami, FL
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Fiduciary and Other Roles



                                                              Filing     Appointment                         Attorney/
 Case Name                                   Case No.         Date          Date            Role             Contact            Firm Name           Industry

RGN Group Holdings LLC                 20-11961              8/17/20      7/17/2020     Responsible       Chad Husnick       Kirkland and         Real Estate
                                                                                          Officer                            Ellis LLP



Patriot National Inc. and              18-10189             1/30/2018     10/17/2017        CRO           Katie Coleman      Hughes Hubbard &     Professional
Subsidiaries                                                                                              Laura Davis        Reed                 Services
                                                                                                          Jones              Pachulski Stang
                                                                                                                             Ziehl & Jones LLP

Value City Department Stores,          08-14197             10/26/2008    1/23/2008     President and     John Longmire      Willkie Farr &       Retail
LLC                                                                                         CRO                              Gallagher LLP,
                                                                                                                             New York, NY


FJC Amusements, Inc. as a              N/A                                  2008          Arbitrator      Joel S. Fass       Colodny, Fass,       Entertainment
general partner of a joint                                                                                                   Talenfeld, Karlinsky
partnership, Niagara Flume                                                                                                   & Abate, P.A., Ft.
Partnership, Plaintiff, and Triple                                                                                           Lauderdale, FL
D of Lakeland, defendant

Larry Kline Wholesale Meats &          N/A                                 11/2007        Mediator        Joel S. Fass       Colodny, Fass,      Distribution
Provisions, Inc. v. David                                                                                                    Talenfield,
Freeman                                                                                                                      Karlinsky & Abate,
                                                                                                                             PA, Ft. Lauderdale,
                                                                                                                             FL

ABC for Tasco Worldwide, Inc.          Multiple               2002         5/2002      Assignee for the   Ronald L. Leibow   Kay Scholer LLP,     Mfg./Retail
and Celestron International                                                               Benefit of                         Los Angeles, CA
                                                                                          Creditors


Metso Oyj and Svedala                  Docket No. C-4024,                  9/7/2001    Interim Monitor-   M. Elaine          White & Case, New Mfg.
Industries, AB                         File No. 001-0186                                     FTC          Johnston           York, NY



The Estate of Ralph Laurence           Probate Division,     6/1999        12/1998       Co-Curator       David Glazer       Behar, Gutt &        Probate
Devine, Deceased                       File Number: 98-                                                                      Glazer               Estate
                                       3651, Division: 04
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Fiduciary and Other Roles



DeCiccio Floral Corp. d/b/a         96-03762 CA15       2/22/1996      2/29/1996   Assignee for the   Robert A.        Schantz,               Distribution
American Floral Distributors                                                          Benefit of      Schatzman        Schatzman &
                                                                                      Creditors                        Aaronson, Miami,
                                                                                                                       FL

Fyffes Bananas International v.     N/A                                 8/1994        Arbitrator      Tom Murphy       Fyffes Bananas         Agriculture
Proyecto La Cruz Manzanillo                                                                                            International, Ft.
                                                                                                                       Lauderdale, FL


General Trading, Inc. v. Yale       88-0061-CIV-           1988        4/15/1994   Federal Receiver   Philip Allen     Litow, Cutler,         -
Materials Handling Corp.            Bandstra                                                                           Zabludowski, et al.,
                                                                                                                       Miami, FL


Hi-Tech Computer Products, Inc., 92-11601 (08)          1992           12/3/1992    Special Master    Frank Sinagra    Haley, Sinagra &       Technology
et al., v. NationsBank of Florida Broward Circuit Ct.                                                                  Perez, P.A., Ft.
                                                                                                                       Lauderdale, FL


Carbotex, Inc. Assignor             97-27655 CA (11)                               Assignee for the   Paul L. Orshan   Kluger, Peretz,        Retail
                                                                                      Benefit of                       Kaplan & Berlin,
                                                                                      Creditors                        P.A., Miami, FL
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Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                                         Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition         Post-Petition
                            Week -->                                           Week 1               Week 2               Week 3               Week 4               Week 5               Week 6               Week 7                Week 8               Week 9               Week 10              Week 11               Week 12               Week 13           Current Rolling
                            From -->                                           6/8/2022            6/13/2022            6/20/2022            6/27/2022             7/4/2022            7/11/2022            7/18/2022             7/25/2022             8/1/2022              8/8/2022            8/15/2022             8/22/2022             8/29/2022           13 Weeks
                         Week-Ending -->                                      6/12/2022            6/19/2022            6/26/2022             7/3/2022            7/10/2022            7/17/2022            7/24/2022             7/31/2022             8/7/2022             8/14/2022            8/21/2022             8/28/2022              9/4/2022
PRODUCTCO
Beginning ProductCo Cash Balance                                         $         827,079    $        1,347,391   $        1,745,131   $        2,005,084   $        1,487,788   $        1,670,438   $         2,177,983   $        2,434,851   $         1,767,331   $        2,165,430   $         2,586,342   $         2,890,144   $         3,229,068    $      827,079
 Ecommerce NA & UK                                                       $          89,045    $          102,714   $          102,714   $          108,835   $          108,835   $          108,835   $           108,835   $          108,835   $           108,566   $         108,566    $           108,566   $           108,566   $           108,566    $    1,381,477
 Amazon FBA International                                                           24,989                   -                 24,989                  -                 24,989                  -                  24,989                  -                  24,989                 -                   24,989                   -                  24,989           174,925
 Amazon FBA NA                                                                         -                 312,235                  -                436,970                  -                436,970                   -                436,970                   -               304,444                    -                 304,444                   -           2,232,033
 Transfers from Non-Debtor Affiliate (Japan)                                           -                     -                    -                  5,000                  -                    -                     -                  5,000                   -                   -                      -                     -                   5,000            15,000
 Accounts Receivables Collections                                                  406,277               531,169              482,981              479,037              526,556              550,738               500,775              514,626               565,676             591,654                537,979               514,626               565,920         6,768,016

   TOTAL PRODUCTCO SOURCES                                               $         520,312    $          946,118   $          610,684   $        1,029,842   $          660,381   $        1,096,544   $           634,600   $        1,065,432   $           699,231   $        1,004,664   $           671,534   $           927,636   $           704,475    $   10,571,451
 Payroll, Payroll Tax & Benefits                                         $              -     $          244,274   $              -     $          242,267   $              -     $          242,267   $               -     $          231,981   $               -     $         231,981    $               -     $           231,981   $               -      $    1,424,750
 Commission                                                                             -                    -                    -                 30,000                  -                    -                     -                 30,000                   -                   -                      -                     -                     -              60,000
 Contractors                                                                            -                 20,000               20,000              119,500               47,000               51,000                47,000              119,500                47,000              51,000                 47,000                51,000               115,500           735,500
 Key Consultants                                                                        -                    -                    -                  8,889                  -                    -                     -                  8,889                   -                   -                      -                     -                   8,889            26,667
 Rent                                                                                   -                    -                    -                 47,500                  -                    -                     -                 47,500                   -                   -                      -                     -                  47,500           142,500
 Marketing                                                                              -                    -                    -                724,000                  -                    -                     -                769,500                 4,500                 -                      -                     -                 724,000         2,222,000
 Insurance                                                                              -                    -                 80,000                  -                    -                    -                  80,000                  -                     -                   -                   80,000                   -                     -             240,000
 Logistics                                                                              -                128,982              128,982              128,982              128,982              128,982               128,982              128,982               128,982             128,982                128,982               128,982               128,982         1,547,779
 Non-BK Professionals                                                                   -                    -                    -                 60,850                  -                    -                     -                120,350                   -                   -                      -                     -                  52,000           233,200
 Technology                                                                             -                    -                    -                 10,400               90,000                  -                     -                  1,500                 8,900               5,040                    -                     -                  10,400           126,240
 Utilities                                                                              -                  3,000                  -                  3,000                  -                    -                     -                  3,000                   -                   -                      -                     -                   3,000            12,000
 Other Expenses, Vendors                                                                -                 75,000               75,000               80,000               75,000               75,000                75,000               80,000                75,000              75,000                 75,000                75,000                80,000           915,000
 Sales tax                                                                              -                    -                    -                    -                100,000                  -                     -                100,000                   -                   -                      -                     -                 100,000           300,000
 Transfers to Non-Debtor Accounts(1)                                                    -                    -                 20,000                  -                 20,000                  -                  20,000                  -                  20,000                 -                   20,000                   -                  20,000           120,000
 Management Payroll - InterCo Transfer to HoldCo                                        -                 60,372                  -                 75,000                  -                 75,000                   -                 75,000                   -                75,000                    -                  75,000                   -             435,372
 Foreign Key Vendors                                                                    -                 16,750               26,750               16,750               16,750               16,750                26,750               16,750                16,750              16,750                 16,750                26,750                   -             214,250
                   (2)
 BK Professionals                                                                       -                    -                    -                    -                    -                    -                     -                    -                     -                   -                      -                     -                     -                 -
 US Trustee Fees                                                                        -                    -                    -                    -                    -                    -                     -                    -                     -                   -                      -                     -                     -                 -

   TOTAL PRODUCTCO DISBURSEMENTS                                         $              -     $          548,378   $          350,732   $        1,547,138   $          477,732   $          588,999   $           377,732   $        1,732,951   $           301,132   $         583,752    $           367,732   $           588,712   $         1,290,271    $    8,755,258

PRODUCTCO - CASH ROLLFORWARD
Beginning PRODUCTCO Cash Balance                                         $         827,079    $        1,347,391 $          1,745,131 $          2,005,084 $          1,487,788 $          1,670,438 $           2,177,983 $          2,434,851 $           1,767,331 $          2,165,430 $           2,586,342 $           2,890,144 $           3,229,068    $      827,079
(+) ProductCo Receipts                                                             520,312               946,118              610,684            1,029,842              660,381            1,096,544               634,600            1,065,432               699,231            1,004,664               671,534               927,636               704,475        10,571,451
(-) ProductCo Disbursements                                                            -                (548,378)            (350,732)          (1,547,138)            (477,732)            (588,999)             (377,732)          (1,732,951)             (301,132)            (583,752)             (367,732)             (588,712)           (1,290,271)       (8,755,258)
Ending ProductCo Cash Balance                                            $        1,347,391   $        1,745,131   $        2,005,084   $        1,487,788   $        1,670,438   $        2,177,983   $         2,434,851   $        1,767,331   $         2,165,430   $        2,586,342   $         2,890,144   $         3,229,068   $         2,643,272    $    2,643,272

Change in ProductCo Cash from Previous Week                                                   $          397,740   $          259,953   $         (517,295) $           182,649   $          507,545   $           256,868   $         (667,520) $            398,099   $         420,912    $           303,803   $           338,924   $          (585,796)




Inventory Rollforward
Beginning Inventory                                                      $      17,847,150 $          17,536,640 $         17,045,041 $         16,727,971 $         16,157,644 $         15,837,799 $         15,267,636 $          14,947,791 $          14,377,628 $        14,057,912 $          13,569,124 $          13,250,132 $          12,761,345     $   17,847,150
(+) Purchases(4)                                                                       -                     -                    -                    -                    -                    -                    -                     -                     -                   -                     -                     -                     -                  -
(-) Cost of Goods                                                                 (310,510)             (491,599)            (317,070)            (570,326)            (319,845)            (570,163)            (319,845)             (570,163)             (319,716)           (488,788)             (318,992)             (488,788)             (318,992)        (5,404,798)
= Ending Inventory                                                       $      17,536,640 $          17,045,041 $         16,727,971 $         16,157,644 $         15,837,799 $         15,267,636 $         14,947,791 $          14,377,628 $          14,057,912 $        13,569,124 $          13,250,132 $          12,761,345 $          12,442,352     $   12,442,352

                                   (5)
Accounts Receivable Rollforward
Beginning AR                                                             $        5,157,699 $          5,277,639 $          5,272,688 $          5,315,924 $          5,363,104 $          5,362,426 $           5,337,564 $          5,362,667 $           5,373,918 $          5,334,119 $           5,266,835 $           5,253,225 $           5,262,969    $    5,157,699
(+) Sales (Domestic Commercial, Retail, Government, Intl. Dist.)                    526,218              526,218              526,218              526,218              525,877              525,877               525,877              525,877               525,877              524,370               524,370               524,370               524,370         6,831,736
(-) Collections (Domestic Commercial, Retail, Government, Intl. Dist.)             (406,277)            (531,169)            (482,981)            (479,037)            (526,556)            (550,738)             (500,775)            (514,626)             (565,676)            (591,654)             (537,979)             (514,626)             (565,920)       (6,768,016)
= Ending AR                                                              $        5,277,639 $          5,272,688 $          5,315,924 $          5,363,104 $          5,362,426 $          5,337,564 $           5,362,667 $          5,373,918 $           5,334,119 $          5,266,835 $           5,253,225 $           5,262,969 $           5,221,418    $    5,221,418

Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
(5) These amounts do not include sales activity relating to Ecommerce and Amazon.
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                   EXHIBIT "3"
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Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                                          Post-Petition        Post-Petition        Post-Petition         Post-Petition        Post-Petition        Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition         Post-Petition
                            Week -->                                            Week 1               Week 2               Week 3                Week 4               Week 5               Week 6               Week 7                Week 8               Week 9               Week 10              Week 11               Week 12               Week 13           Current Rolling
                            From -->                                            6/8/2022            6/13/2022            6/20/2022             6/27/2022             7/4/2022            7/11/2022            7/18/2022             7/25/2022             8/1/2022              8/8/2022            8/15/2022             8/22/2022             8/29/2022           13 Weeks
                         Week-Ending -->                                       6/12/2022            6/19/2022            6/26/2022              7/3/2022            7/10/2022            7/17/2022            7/24/2022             7/31/2022             8/7/2022             8/14/2022            8/21/2022             8/28/2022              9/4/2022


HOLDCO
Beginning HoldCo Cash Balance                                            $          106,113    $          146,113   $          183,613    $          160,663   $          193,663   $          192,663   $           186,663   $          163,713   $           197,713   $         195,713    $           189,713   $           166,763   $           173,263    $      106,113

 Education/CORE - ExperienceCo                                           $            40,000   $           50,000   $            50,000   $           50,000   $           50,000   $           50,000   $            50,000   $           50,000   $            50,000   $           50,000   $            50,000   $            50,000   $            50,000    $      640,000
 Apple Subscriptions - ExperienceCo                                                      -                    -                     -                 40,000                  -                    -                     -                 40,000                   -                    -                     -                     -                  40,000           120,000
 Management Payroll - InterCo Transfer from ProductCo                                    -                 60,372                   -                 75,000                  -                 75,000                   -                 75,000                   -                 75,000                   -                  75,000                   -             435,372
 Other                                                                                   -                    -                     -                    -                    -                    -                     -                    -                     -                    -                     -                     -                     -                 -

   TOTAL HOLDCO SOURCES                                                  $            40,000   $          110,372   $            50,000   $          165,000   $           50,000   $          125,000   $            50,000   $          165,000   $            50,000   $         125,000    $            50,000   $           125,000   $            90,000    $    1,195,372
                                   (3)
 Payroll, Payroll Tax & Benefits                                         $               -     $           60,372   $               -     $           75,000   $              -     $           75,000   $               -     $           75,000   $               -     $           75,000   $               -     $            75,000   $               -      $      435,372
 Contractors                                                                             -                    -                  13,500               13,500               13,500               13,500                13,500               13,500                13,500               13,500                13,500                13,500                13,500           148,500
 Key Consultants                                                                         -                 12,500                   -                 12,500                  -                 12,500                   -                 12,500                   -                 12,500                   -                     -                     -              62,500
 UK Studio Rent                                                                          -                    -                   3,000                  -                    -                    -                   3,000                  -                     -                    -                   3,000                   -                     -               9,000
 Marketing                                                                               -                    -                  17,500               17,500               17,500               17,500                17,500               17,500                17,500               17,500                17,500                17,500                17,500           192,500
 Technology                                                                              -                    -                     -                  1,000                  -                    -                     -                    -                   1,000                  -                     -                     -                   1,000             3,000
 Other Expenses                                                                          -                    -                  12,500               12,500               12,500               12,500                12,500               12,500                12,500               12,500                12,500                12,500                12,500           137,500
 Growth Initiative                                                                       -                    -                  26,450                  -                  7,500                  -                  26,450                  -                   7,500                  -                  26,450                   -                   7,500           101,850

   TOTAL HOLDCO DISBURSEMENTS                                            $               -     $           72,872   $            72,950   $          132,000   $           51,000   $          131,000   $            72,950   $          131,000   $            52,000   $         131,000    $            72,950   $           118,500   $            52,000    $    1,090,222

HOLDCO - CASH ROLLFORWARD
Beginning HOLDCO Cash                                                     $         106,113    $          146,113 $            183,613 $             160,663 $            193,663 $            192,663 $             186,663 $            163,713 $             197,713 $            195,713 $             189,713 $             166,763 $             173,263    $      106,113
(+) HoldCo Receipts                                                                  40,000               110,372               50,000               165,000               50,000              125,000                50,000              165,000                50,000              125,000                50,000               125,000                90,000         1,195,372
(-) HoldCo Disbursements                                                                -                 (72,872)             (72,950)             (132,000)             (51,000)            (131,000)              (72,950)            (131,000)              (52,000)            (131,000)              (72,950)             (118,500)              (52,000)       (1,090,222)
Ending HoldCo Cash Balance                                               $          146,113    $          183,613   $          160,663    $          193,663   $          192,663   $          186,663   $           163,713   $          197,713   $           195,713   $         189,713    $           166,763   $           173,263   $           211,263    $      211,263

Change in HoldCo Cash from Previous Week                                                       $           37,500   $           (22,950) $            33,000   $            (1,000) $            (6,000) $           (22,950) $            34,000   $             (2,000) $           (6,000) $            (22,950) $              6,500   $            38,000




Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
(5) These amounts do not include sales activity relating to Ecommerce and Amazon.
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                        EXHIBIT "4"
                                                                    Case 8:22-bk-10948-SC                                                Doc 9 Filed 06/08/22 Entered 06/08/22 13:35:03                                                                                                 Desc
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Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                               Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition         Post-Petition
                        Week -->                                     Week 1               Week 2               Week 3               Week 4               Week 5               Week 6               Week 7                Week 8               Week 9                Week 10              Week 11               Week 12               Week 13          Current Rolling
                        From -->                                     6/8/2022            6/13/2022            6/20/2022            6/27/2022             7/4/2022            7/11/2022            7/18/2022             7/25/2022             8/1/2022              8/8/2022            8/15/2022             8/22/2022             8/29/2022           13 Weeks
                   Week-Ending -->                                  6/12/2022            6/19/2022            6/26/2022             7/3/2022            7/10/2022            7/17/2022            7/24/2022             7/31/2022             8/7/2022             8/14/2022            8/21/2022             8/28/2022              9/4/2022
CONSOLIDATED
Beginning TOTAL Cash Balance                                   $          933,192   $        1,493,504   $        1,928,744   $        2,165,747   $        1,681,452   $        1,863,101   $         2,364,646   $        2,598,564   $         1,965,044   $        2,361,143   $         2,776,055   $         3,056,908   $         3,402,331    $      933,192
 Ecommerce NA & UK - ProductCo                                 $           89,045   $          102,714   $          102,714   $          108,835   $          108,835   $          108,835   $           108,835   $          108,835   $           108,566   $          108,566   $           108,566   $           108,566   $           108,566    $    1,381,477
 Amazon FBA International - ProductCo                                      24,989                  -                 24,989                  -                 24,989                  -                  24,989                  -                  24,989                  -                  24,989                   -                  24,989           174,925
 Amazon FBA NA - ProductCo                                                    -                312,235                  -                436,970                  -                436,970                   -                436,970                   -                304,444                   -                 304,444                   -           2,232,033
 Transfers from Non-Debtor Affiliate (Japan)                                  -                    -                    -                  5,000                  -                    -                     -                  5,000                   -                    -                     -                     -                   5,000            15,000
 Accounts Receivables Collections - ProductCo                             406,277              531,169              482,981              479,037              526,556              550,738               500,775              514,626               565,676              591,654               537,979               514,626               565,920         6,768,016
 Education/CORE - ExperienceCo                                             40,000               50,000               50,000               50,000               50,000               50,000                50,000               50,000                50,000               50,000                50,000                50,000                50,000           640,000
 Apple Subscriptions - ExperienceCo                                           -                    -                    -                 40,000                  -                    -                     -                 40,000                   -                    -                     -                     -                  40,000           120,000
 Management Payroll - InterCo Transfer from ProductCo                         -                 60,372                  -                 75,000                  -                 75,000                   -                 75,000                   -                 75,000                   -                  75,000                   -
 Other - HoldCo                                                               -                    -                    -                    -                    -                    -                     -                    -                     -                    -                     -                     -                     -                  -
   TOTAL SOURCES                                               $          560,312   $        1,056,490   $          660,684   $        1,194,842   $          710,381   $        1,221,544   $           684,600   $        1,230,432   $           749,231   $        1,129,664   $           721,534   $         1,052,636   $           794,475    $   11,331,451

 Payroll, Payroll Tax & Benefits(1)                            $               -    $          304,646   $              -     $          317,267   $              -     $          317,267   $               -     $          306,981   $               -     $          306,981   $               -     $           306,981   $               -      $    1,860,122
 Commission                                                                    -                   -                    -                 30,000                  -                    -                     -                 30,000                   -                    -                     -                     -                     -              60,000
 Contractors                                                                   -                20,000               33,500              133,000               60,500               64,500                60,500              133,000                60,500               64,500                60,500                64,500               129,000           884,000
 Key Consultants                                                               -                12,500                  -                 21,389                  -                 12,500                   -                 21,389                   -                 12,500                   -                     -                   8,889            89,167
 Rent                                                                          -                   -                  3,000               47,500                  -                    -                   3,000               47,500                   -                    -                   3,000                   -                  47,500           151,500
 Marketing                                                                     -                   -                 17,500              741,500               17,500               17,500                17,500              787,000                22,000               17,500                17,500                17,500               741,500         2,414,500
 Insurance                                                                     -                   -                 80,000                  -                    -                    -                  80,000                  -                     -                    -                  80,000                   -                     -             240,000
 Logistics                                                                     -               128,982              128,982              128,982              128,982              128,982               128,982              128,982               128,982              128,982               128,982               128,982               128,982         1,547,779
 Non-BK Professionals                                                          -                   -                    -                 60,850                  -                    -                     -                120,350                   -                    -                     -                     -                  52,000           233,200
 Technology                                                                    -                   -                    -                 11,400               90,000                  -                     -                  1,500                 9,900                5,040                   -                     -                  11,400           129,240
 Utilities                                                                     -                 3,000                  -                  3,000                  -                    -                     -                  3,000                   -                    -                     -                     -                   3,000            12,000
 Transfers to Non-Debtor Accounts(2)                                           -                   -                 20,000                  -                 20,000                  -                  20,000                  -                  20,000                  -                  20,000                   -                  20,000           120,000
 Sales Tax                                                                     -                   -                    -                    -                100,000                  -                     -                100,000                   -                    -                     -                     -                 100,000           300,000
 Other Expenses, Vendors                                                       -                75,000               75,000               80,000               75,000               75,000                75,000               80,000                75,000               75,000                75,000                75,000                80,000           915,000
 Growth Initiative                                                             -                   -                 26,450                  -                  7,500                  -                  26,450                  -                   7,500                  -                  26,450                   -                   7,500           101,850
 Miscellaneous, Other                                                          -                   -                 12,500               12,500               12,500               12,500                12,500               12,500                12,500               12,500                12,500                12,500                12,500           137,500
 Management Payroll - InterCo Transfer to HoldCo                               -                60,372                  -                 75,000                  -                 75,000                   -                 75,000                   -                 75,000                   -                  75,000                   -             435,372
 Foreign Key Vendors                                                           -                16,750               26,750               16,750               16,750               16,750                26,750               16,750                16,750               16,750                16,750                26,750                   -             214,250
 BK Professionals(3)                                                           -                   -                    -                    -                    -                    -                     -                    -                     -                    -                     -                     -                     -                 -
 US Trustee Fees                                                               -                   -                    -                    -                    -                    -                     -                    -                     -                    -                     -                     -                     -                 -
   TOTAL DISBURSEMENTS                                         $               -    $          621,249   $          423,682   $        1,679,138   $          528,732   $          719,999   $           450,682   $        1,863,951   $           353,132   $          714,752   $           440,682   $           707,212   $         1,342,271    $    9,845,480

Net Cash                                                       $          560,312   $          435,240   $          237,003   $         (484,295) $           181,649   $          501,545   $           233,918   $         (633,520) $            396,099   $          414,912   $           280,853   $           345,424   $          (547,796)   $    1,485,971
TOTAL - CASH ROLLFORWARD
Beginning TOTAL Cash Balance                                   $          933,192   $        1,493,504 $          1,928,744 $          2,165,747 $          1,681,452 $          1,863,101 $           2,364,646 $          2,598,564 $           1,965,044 $          2,361,143 $           2,776,055 $           3,056,908 $           3,402,331    $      933,192
(+) Total Receipts                                                        560,312            1,056,490              660,684            1,194,842              710,381            1,221,544               684,600            1,230,432               749,231            1,129,664               721,534             1,052,636               794,475        11,766,823
(-) Total Disbursements                                                       -               (621,249)            (423,682)          (1,679,138)            (528,732)            (719,999)             (450,682)          (1,863,951)             (353,132)            (714,752)             (440,682)             (707,212)           (1,342,271)       (9,845,480)
Ending TOTAL Cash Balance                                      $        1,493,504   $        1,928,744   $        2,165,747   $        1,681,452   $        1,863,101   $        2,364,646   $         2,598,564   $        1,965,044   $         2,361,143   $        2,776,055   $         3,056,908   $         3,402,331   $         2,854,536    $    2,854,536


Notes
(1) Assumes 8 business days of post-petition payroll paid in Week 2.
(2) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(3) There are no bankruptcy professional payments in this forecast.
This forecast does not include additional purchases of inventory.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034


A true and correct copy of the foregoing document entitled (specify): DECLARATION OF JAMES S. FELTMAN IN
SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN INTERIM ORDER: (I) AUTHORIZING THE
DEBTORS TO UTILIZE CASH COLLATERAL PURSUANT TO 11 U.S.C. §§ 361, 362 AND 363; (II) GRANTING
ADEQUATE PROTECTION; (III) SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(b);
AND (IV) GRANTING RELATED RELIEF will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 8, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 8, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

                                                               Service information BY OVERNIGHT MAIL continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 8, 2022                 Lourdes Cruz                                                      /s/ Lourdes Cruz
 Date                          Printed Name                                                     Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
